                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

ATLANTIC CORPORATION OF WILMINGTON, )
INC.,                                 )
                                      )
                      Plaintiffs,     )
                                      )                        JUDGMENT IN A
v.                                    )                        CIVIL CASE
                                      )                        CASE NO. 7:20-CV-236-D
TBG TECH CO., LLC, STARLEY LAW, PLLC, )
MATTHEW STARLEY, and JOHANNES         )
FLOE,                                 )
                                      )
                      Defendants.     )


Decision by Court. This action came before this Court for ruling as follows.


IT IS ORDERED, ADJUDGED, AND DECREED that the court GRANTS defendants'
motions to dismiss [D.E. 23, 35] and DISMISSES WITHOUT PREJUDICE the amended
complaint for lack of personal jurisdiction.



This Judgment Filed and Entered on September 30, 2021, and Copies To:
Michael Murchison                                      (via CM/ECF electronic notification)
Andrew Kent McVey                                      (via CM/ECF electronic notification)
James Michael Weiss                                    (via CM/ECF electronic notification)
Michelle A. Liguori                                    (via CM/ECF electronic notification)
J. Gray Wilson                                         (via CM/ECF electronic notification)




DATE:                                                          PETER A. MOORE, JR., CLERK
September 30, 2021                                             (By) /s/ Nicole Sellers
                                                               Deputy Clerk




            Case 7:20-cv-00236-D Document 44 Filed 09/30/21 Page 1 of 1
